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 6
 7                      IN THE UNITED STATES DISTRICT COURT FOR THE
 8                                EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,                      )        1:06-CR-00299 AWI
10                                                  )
                     Plaintiff,                     )        STIPULATION TO CONTINUE
11                                                  )        SENTENCING and ORDER
            v.                                      )
12                                                  )
     CHRISTOPHER LEROY SEALS                        )
13                                                  )
                     Defendant.                     )
14                                                  )
                                                    )
15
16          IT IS HEREBY STIPULATED by and between the parties hereto through their respective
17   counsel, Stanley A. Boone, Assistant United States Attorney for Plaintiff, and Barbara O'Neill,
18   Attorney for Defendant, CHRISTOPHER LEROY SEALS, that the Sentencing Hearing presently
19   set for December 8, 2008, at 9:00 a.m., may be continued to January 5, 2009, at 9:00 a.m.
20          This continuance is necessary to allow the parties the opportunity to further discuss this
21   matter before sentencing.
22                                                          Respectfully submitted,
23
                                                            McGREGOR W. SCOTT
24                                                          United States Attorney
25
     DATED: December 4, 2008                      By        /s/ Stanley A. Boone
26                                                          STANLEY A. BOONE
                                                            Assistant U.S. Attorney
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28                                                      1
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 1
 2   DATE: December 4, 2008                        By       /s/ Barbara H. O'Neill
                                                            BARBARA H. O'NEILL
 3                                                          Attorney for Christopher Leroy Seals
 4
                                                   ORDER
 5
              IT IS HEREBY ORDERED that the sentencing hearing presently set for December 8,
 6
     2008, at 9:00 a.m., is continued until January 5, 2009, at 9:00 a.m.
 7
     IT IS SO ORDERED.
 8
     Dated:      December 4, 2008                      /s/ Anthony W. Ishii
 9   ciem0h                                   CHIEF UNITED STATES DISTRICT JUDGE
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